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                         Exhibit A
                                                                           DOCUMENT 2
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                                                                                                              Page   2 of 10 FILED
                                                                                                                5/7/2024 10:02 AM
                                                                                                              71-CV-2024-900052.00
                                                                                                              CIRCUIT COURT OF
                                                                                                           COFFEE COUNTY, ALABAMA
                                                                                                             AMY L. REEVES, CLERK




                         ‭IN‬‭THE‬‭CIRCUIT‬‭COURT‬‭OF‬‭COFFEE‬‭COUNTY,‬‭ALABAMA‬


‭ ESTINY‬‭CLEANING‬‭SERVICES,‬‭LLC.;‬
D
‭TIMOTHY‬‭WILLIAMS,‬

             ‭Plaintiff(s),‬                                                                ‭CASE‬‭NO.:‬

‭v.‬                                                                                        ‭JURY‬‭DEMANDED‬

‭ EN.‬ ‭E.‬ ‭KEITH‬ ‭COMPANY,‬ ‭a‬ ‭foreign‬
B
‭corporation;‬                                     ‭SCOTT‬ ‭DAVISON‬‭,‬ ‭an‬
 ‭Individual;‬ ‭KALEB‬ ‭RICHARDS,‬ ‭an‬
  ‭Individual;‬ ‭and‬ ‭Fictitious‬ ‭Defendants‬ ‭A,‬ ‭B,‬
   ‭and‬ ‭C‬‭,‬ ‭refer‬ ‭to‬ ‭that‬ ‭person,‬ ‭individual‬
    ‭operators,‬ ‭board‬ ‭of‬ ‭directors,‬ ‭presidents,‬ ‭or‬
     ‭Chief‬ ‭Executive‬ ‭Officer‬ ‭(CEO),‬ ‭Chief‬
      ‭Operating‬ ‭Officer‬ ‭(COO),‬ ‭firm,‬ ‭corporation,‬
       ‭and‬ ‭any‬ ‭Management‬ ‭company‬ ‭holding‬ ‭any‬
        ‭assets‬ ‭of‬ ‭named‬ ‭corporate‬ ‭defendants,‬ ‭and‬
         ‭Fictitious‬ ‭Defendants‬ ‭D,‬ ‭E,‬ ‭and‬ ‭F‬ ‭or‬ ‭any‬
          ‭other‬ ‭legal‬ ‭or‬ ‭government‬ ‭entity‬ ‭who‬
           ‭negligently‬ ‭and/or‬ ‭wantonly‬ ‭acted‬ ‭or‬
            ‭contributed‬ ‭to‬ ‭the‬ ‭allegations‬ ‭averred‬ ‭by‬
             ‭Plaintiffs,‬ ‭at‬ ‭all-time‬ ‭material‬ ‭hereton;‬
              ‭Fictitious‬ ‭Defendants‬ ‭G,‬ ‭H,‬ ‭and‬ ‭I‭,‬‬ ‭refer‬ ‭to‬
               ‭any‬ ‭other‬ ‭person,‬ ‭firm,‬ ‭corporation,‬ ‭and‬ ‭BEN‬
                ‭E.‬ ‭KEITH‬ ‭COMPANY‬ ‭or‬ ‭any‬ ‭other‬ ‭legal‬ ‭or‬
                 ‭government‬ ‭entity‬ ‭who‬ ‭negligently‬ ‭and/or‬
                  ‭wantonly‬ ‭failed‬ ‭to‬ ‭hire,‬ ‭train‬ ‭or‬ ‭supervise‬ ‭any‬
                   ‭of‬ ‭named‬ ‭individual‬ ‭defendants,‬ ‭named‬
                    ‭corporate‬ ‭defendants,‬ ‭or‬ ‭other‬ ‭fictitious‬
                     ‭party(s),‬ ‭who‬ ‭allegedly‬ ‭contributed‬ ‭to‬ ‭the‬
                      ‭allegations‬ ‭averred‬ ‭by‬ ‭Plaintiffs;‬ ‭Fictitious‬
                       ‭Defendants‬ ‭J,‬ ‭K,‬ ‭and‬ ‭L‭,‬‬ ‭refer‬ ‭to‬ ‭that‬‭person,‬
                        ‭firm,‬‭corporation,‬‭or‬‭other‬‭legal‬‭or‬‭government‬
                         ‭entity‬‭who‬‭had‬‭knowledge‬‭of‬‭or‬‭conspired‬‭with‬
                          ‭any‬ ‭of‬ ‭named‬ ‭individual‬ ‭defendants,‬ ‭named‬
                           ‭corporate‬‭defendants‬‭or‬‭other‬‭fictitious‬‭party(s),‬
                            ‭and‬‭Fictitious‬‭Defendants‬‭M,‬‭N,‬‭and‬‭O‬‭or‬‭any‬
                             ‭other‬ ‭legal‬ ‭entity‬ ‭who‬ ‭negligently‬ ‭and/or‬
                              ‭wantonly‬‭acted‬‭or‬‭contributed‬‭to‬‭the‬‭allegations‬
                               ‭avered‬ ‭by‬ ‭Plaintiffs;‬ ‭Fictitious‬ ‭Defendants‬ ‭P,‬
                                                                                      ‭1‬
                                                                                       DOCUMENT 2
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‭ ,‬ ‭and‬ ‭R‭,‬‬ ‭refer‬ ‭to‬ ‭that‬ ‭person,‬ ‭firm,‬
Q
‭corporation‬‭or‬‭other‬‭legal‬‭or‬‭government‬‭entity‬
 ‭whose‬ ‭negligent‬ ‭and/or‬ ‭wanton‬ ‭conduct‬ ‭or‬
  ‭omission,‬ ‭contributed‬ ‭to‬ ‭or‬ ‭directly‬‭resulted‬‭in‬
   ‭the‬ ‭allegations‬ ‭averred‬‭by‬‭Plaintiffs;‬‭Fictitious‬
    ‭Defendants‬ ‭S,‬ ‭T,‬ ‭and‬ ‭U‬‭,‬ ‭refer‬ ‭to‬ ‭that‬ ‭person,‬
     ‭firm,‬‭corporation,‬‭or‬‭other‬‭legal‬‭or‬‭government‬
      ‭entity‬‭who‬‭intentionally‬‭and‬‭knowingly‬‭acted‬‭in‬
       ‭a‬ ‭knowingly‬ ‭deceitful‬ ‭or‬ ‭fraudulent‬ ‭manner‬‭to‬
        ‭contribute‬ ‭or‬ ‭directly‬ ‭result‬ ‭in‬ ‭the‬ ‭allegations‬
         ‭averred‬ ‭by‬ ‭the‬ ‭Plaintiffs;‬ ‭Fictitious‬
          ‭Defendants‬ ‭V,‬ ‭W,‬ ‭and‬ ‭X,‬‭refer‬‭to‬‭those‬‭local,‬
           ‭regional,‬ ‭or‬ ‭national‬ ‭managers,‬ ‭supervisors‬
            ‭and/or‬ ‭employee,‬ ‭or‬ ‭agents‬ ‭of‬ ‭Fictitious‬
             ‭Defendants‬‭Y,‬‭Z,‬‭and‬‭AA‬‭or‬‭fictitious‬‭party(s),‬
              ‭whose‬ ‭negligence‬ ‭and/or‬ ‭wanton‬ ‭conduct‬
               ‭contributed‬ ‭to‬ ‭the‬ ‭allegations‬ ‭averred‬ ‭by‬ ‭the‬
                ‭Plaintiff,‬ ‭and‬ ‭whose‬ ‭negligence‬ ‭and/or‬‭wanton‬
                 ‭conduct,‬ ‭combined‬ ‭and‬ ‭concurred‬ ‭with‬ ‭the‬
                  ‭negligent‬ ‭and/or‬ ‭wanton‬ ‭conduct‬ ‭of‬ ‭other‬
                   ‭defendants‬ ‭to‬ ‭proximately‬ ‭cause‬ ‭the‬ ‭breach‬ ‭of‬
                    ‭contract‬ ‭and‬ ‭other‬ ‭damages‬ ‭set‬ ‭forth‬ ‭in‬ ‭this‬
                     ‭complaint;‬ ‭Fictitious‬ ‭Defendants‬ ‭BB,‬ ‭CC,‬
                      ‭and‬‭DD‬‭,‬‭refer‬‭to‬‭that‬‭person,‬‭firm,‬‭corporation‬
                       ‭or‬ ‭other‬ ‭legal‬ ‭or‬ ‭government‬ ‭entity‬ ‭whose‬
                        ‭breach‬ ‭of‬ ‭contract,‬ ‭negligent‬ ‭and/or‬ ‭wanton‬
                         ‭conduct‬ ‭and‬ ‭gross‬ ‭mismanagement‬ ‭allowed‬
                          ‭Plaintiffs‬ ‭to‬ ‭incur‬ ‭damages‬ ‭as‬ ‭a‬ ‭result‬ ‭of‬ ‭the‬
                           ‭allegations‬ ‭set‬ ‭forth‬ ‭in‬ ‭this‬ ‭complaint;‬
                            ‭Fictitious‬ ‭Defendants‬ ‭EE,‬ ‭FF,‬‭and‬‭GG,‬‭refer‬
                             ‭to‬ ‭that‬ ‭person,‬ ‭firm,‬ ‭corporation‬ ‭or‬ ‭other‬‭legal‬
                              ‭or‬ ‭government‬ ‭entity‬ ‭who‬ ‭negligently‬ ‭and/or‬
                               ‭wantonly‬ ‭failed‬ ‭to‬ ‭have‬ ‭in‬ ‭place‬ ‭a‬ ‭policies,‬
                                ‭protocols,‬ ‭procedures,‬ ‭or‬ ‭rules‬ ‭regarding‬ ‭the‬
                                 ‭management‬ ‭of‬ ‭contracted‬ ‭individuals‬ ‭and‬
                                  ‭companies,‬ ‭and‬ ‭who‬ ‭had‬ ‭a‬ ‭responsibility‬ ‭to‬
                                   ‭ensure‬‭no‬‭valid‬‭contracts‬‭were‬‭broken,‬‭so‬‭as‬‭to‬
                                    ‭prevent‬ ‭the‬ ‭damages‬ ‭as‬ ‭a‬ ‭result‬ ‭of‬ ‭the‬
                                     ‭allegations‬ ‭set‬ ‭forth‬ ‭in‬ ‭this‬ ‭complaint;‬
                                      ‭Fictitious‬‭Defendants‬‭HH,‬‭II,‬‭and‬‭JJ‬‭,‬‭refer‬‭to‬
                                       ‭that‬ ‭person,‬‭firm,‬‭corporation,‬‭or‬‭other‬‭legal‬‭or‬
                                        ‭government‬ ‭entity‬ ‭known‬ ‭and‬ ‭doing‬ ‭business‬
                                         ‭as‬ ‭Fictitious‬ ‭Defendants‬ ‭KK,‬ ‭LL,‬‭and‬‭MM‬‭,‬‭,‬
                                          ‭or‬ ‭other‬ ‭legal‬ ‭or‬ ‭government‬‭entity,‬ ‭its‬‭agents‬
                                           ‭and‬ ‭employees‬ ‭whose‬ ‭breach‬ ‭of‬ ‭contract‬ ‭and‬
                                                                                                    ‭2‬
                                                       DOCUMENT 2
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 o‭ ther‬ ‭allegations‬ ‭avered‬ ‭by‬ ‭the‬ ‭Plaintiffs‬
  ‭resulted‬ ‭in‬ ‭damages‬ ‭as‬ ‭a‬ ‭result‬ ‭of‬ ‭the‬
   ‭allegations‬ ‭set‬ ‭forth‬ ‭in‬ ‭this‬ ‭complaint;‬
    ‭Fictitious‬ ‭Defendants‬ ‭A‬ ‭through‬ ‭MM,‬ ‭are‬
     ‭fictitious‬ ‭parties‬ ‭whose‬ ‭current‬ ‭name‬ ‭and‬ ‭true‬
      ‭identities‬ ‭are‬ ‭presently‬ ‭unknown‬ ‭to‬ ‭the‬
       ‭Plaintiffs‬ ‭and‬ ‭will‬ ‭be‬ ‭correctly‬ ‭named‬ ‭and‬
        ‭substituted‬‭when‬‭ascertained.‬

           ‭Defendant(s).‬


                                                       ‭COMPLAINT‬


        ‭COMES‬ ‭NOW‬‭,‬ ‭the‬ ‭undersigned‬ ‭counsel‬ ‭on‬ ‭behalf‬ ‭of‬ ‭Plaintiff,‬ ‭Destiny‬ ‭Cleaning‬
‭Services,‬ ‭LLC‬ ‭and‬ ‭Timothy‬ ‭Williams,‬ ‭and‬ ‭files‬ ‭this‬ ‭Complaint‬ ‭against‬ ‭the‬ ‭Defendant,‬ ‭Ben‬ ‭E.‬
‭Keith‬ ‭Company,‬ ‭Scott‬ ‭Davison,‬ ‭and‬ ‭Kaleb‬ ‭Richards,‬ ‭in‬ ‭this‬ ‭matter,‬ ‭and‬ ‭in‬ ‭support‬ ‭thereof,‬
‭respectfully‬‭shows‬‭unto‬‭this‬‭Honorable‬‭Court‬‭as‬‭follows:‬

                                                         ‭PARTIES‬

        ‭1.‬     ‭Plaintiff‬‭Timothy‬‭Williams‬‭(“Williams”‬‭or‬‭“Mr.‬‭Williams”),‬‭is‬‭an‬‭adult‬‭individual,‬
‭above‬‭the‬‭age‬‭of‬‭19,‬‭and‬‭is‬‭a‬‭resident‬‭of‬‭the‬‭State‬‭of‬‭Alabama,‬‭Coffee‬‭County.‬‭Plaintiff‬‭is‬‭also‬‭the‬
‭owner‬‭of‬‭Destiny‬‭Cleaning‬‭Services,‬‭LLC‬‭(“Destiny”),‬‭a‬‭domestic‬‭corporation‬‭with‬‭its‬‭principal‬
‭place‬‭of‬‭business‬‭in‬‭Elba,‬‭Alabama.‬
        ‭2.‬     ‭Defendant‬ ‭Ben‬ ‭E.‬ ‭Keith‬ ‭Company‬ ‭(“BEK”),‬ ‭is‬ ‭a‬ ‭foreign‬ ‭corporation‬ ‭and‬ ‭has‬ ‭its‬
‭primary‬‭place‬‭of‬‭business‬‭in‬‭the‬‭State‬‭of‬‭Texas,‬‭with‬‭a‬‭location‬‭in‬‭Elba,‬‭Alabama.‬
        ‭3.‬     ‭Defendant‬‭Scott‬‭Davison‬‭(“Davison”),‬‭is‬‭an‬‭adult‬‭resident‬‭of‬‭the‬‭State‬‭of‬‭Alabama,‬
‭and‬ ‭upon‬ ‭information‬ ‭and‬ ‭belief,‬ ‭is‬ ‭the‬ ‭Regional‬ ‭Manager‬ ‭at‬ ‭the‬ ‭Ben‬ ‭E.‬ ‭Keith‬ ‭facility,‬ ‭also‬
‭known‬‭as‬‭Keith‬‭Valley‬‭Packing‬‭Company‬‭-‬‭Southeast.‬
        ‭4.‬     ‭Defendant‬ ‭Kaleb‬ ‭Richards‬ ‭(“Richards”),‬ ‭is‬ ‭an‬ ‭adult‬ ‭resident‬ ‭of‬ ‭the‬ ‭State‬ ‭of‬
‭Alabama,‬‭and‬‭upon‬‭information‬‭and‬‭belief,‬‭is‬‭the‬‭Assistant‬‭Manager‬‭at‬‭the‬‭Ben‬‭E.‬‭Keith‬‭facility,‬
‭also‬‭known‬‭as‬‭Keith‬‭Valley‬‭Packing‬‭Company‬‭-‬‭Southeast.‬


                                                      ‭THE‬‭FACTS‬
        ‭5.‬     ‭Plaintiff‬‭Timothy‬‭Williams‬‭formed‬‭Destiny‬‭Cleaning‬‭Services,‬‭LLC‬‭in‬‭2018.‬
                                                               ‭3‬
                                                      DOCUMENT 2
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        ‭6.‬      ‭Destiny‬ ‭has‬ ‭been‬ ‭recognized‬ ‭as‬ ‭a‬ ‭minority‬ ‭business‬ ‭operating‬ ‭in‬ ‭the‬ ‭State‬ ‭of‬
‭Alabama.‬
        ‭7.‬      ‭The‬‭primary‬‭purpose‬‭of‬‭the‬‭business‬‭is‬‭to‬‭provide‬‭commercial‬‭cleaning‬‭services‬‭to‬
‭businesses‬‭in‬‭and‬‭around‬‭Elba,‬‭Alabama‬‭which‬‭is‬‭located‬‭in‬‭Coffee‬‭County.‬
        ‭8.‬      ‭In‬ ‭or‬ ‭around‬ ‭the‬ ‭summer‬ ‭of‬ ‭2020,‬ ‭Destiny‬ ‭was‬ ‭awarded‬ ‭a‬ ‭contract‬ ‭with‬ ‭Keith‬
‭Valley‬‭Packing‬‭Company‬‭for‬‭commercial‬‭cleaning‬‭services.‬
        ‭9.‬      ‭Defendant‬ ‭Ben‬ ‭E.‬‭Keith‬‭Company‬‭is‬‭a‬‭large‬‭corporation‬‭with‬‭sites‬‭throughout‬‭the‬
‭United‬ ‭States,‬ ‭with‬ ‭one‬ ‭such‬ ‭facility‬ ‭located‬ ‭in‬ ‭Elba,‬ ‭Alabama.‬‭In‬‭addition‬‭to‬‭its‬‭large‬‭national‬
‭presence,‬ ‭Ben‬ ‭E.‬ ‭Keith‬ ‭Company‬ ‭works‬ ‭for‬ ‭and‬ ‭is‬ ‭contracted‬ ‭with‬ ‭the‬ ‭State‬ ‭of‬ ‭Alabama‬ ‭to‬
‭provide‬‭various‬‭services‬‭to‬‭the‬‭State.‬
        ‭10.‬     ‭Destiny‬ ‭maintained‬ ‭this‬ ‭contract‬ ‭for‬ ‭more‬ ‭than‬ ‭3‬ ‭years,‬ ‭receiving‬ ‭numerous‬
‭commendations‬‭for‬‭work‬‭ethic,‬‭timeliness,‬‭and‬‭professionalism.‬
        ‭11.‬     ‭Destiny‬ ‭has‬ ‭never‬ ‭received‬ ‭any‬ ‭complaints‬ ‭from‬ ‭management‬ ‭regarding‬ ‭its‬
‭cleaning‬‭services‬‭being‬‭performed‬‭under‬‭its‬‭contract.‬
        ‭12.‬     ‭Plaintiff‬ ‭Williams‬ ‭is‬ ‭a‬ ‭life-long‬ ‭resident‬ ‭of‬ ‭Elba,‬ ‭Alabama‬ ‭and‬ ‭a‬ ‭descendant‬ ‭of‬
‭residents‬‭of‬‭the‬‭Shiloh‬‭Community.‬
        ‭13.‬     ‭As‬‭an‬‭active‬‭member‬‭of‬‭his‬‭community,‬‭Pastor‬‭Williams‬‭has‬‭been‬‭an‬‭advocate‬‭for‬
‭social‬‭and‬‭economic‬‭justice‬‭for‬‭the‬‭residents‬‭of‬‭the‬‭Shiloh‬‭Community.‬
        ‭14.‬     ‭Plaintiff‬‭is‬‭also‬‭the‬‭pastor‬‭of‬‭a‬‭local‬‭church.‬
        ‭15.‬     ‭The‬‭State‬‭of‬‭Alabama‬‭began‬‭a‬‭construction‬‭project‬‭in‬‭Coffee‬‭County‬‭approximately‬
‭6‬‭years‬‭ago‬‭to‬‭expand‬‭and‬‭elevate‬‭Highway‬‭84‬‭from‬‭2‬‭lanes‬‭to‬‭4‬‭lanes.‬
        ‭16.‬     ‭Immediately‬ ‭during‬ ‭and‬ ‭following‬ ‭construction‬ ‭of‬ ‭the‬ ‭highway,‬ ‭the‬ ‭Shiloh‬
‭Community,‬ ‭a‬ ‭historic‬ ‭African‬ ‭American‬ ‭community,‬ ‭immediately‬ ‭began‬ ‭to‬ ‭experience‬ ‭severe‬
‭flooding‬‭as‬‭a‬‭result‬‭of‬‭the‬‭construction.‬
        ‭17.‬     ‭As‬ ‭the‬ ‭flooding‬ ‭persisted,‬‭Residents‬‭of‬‭the‬‭community‬‭turned‬‭to‬‭Mr.‬‭Williams‬‭for‬
‭help‬ ‭in‬ ‭seeking‬ ‭help‬ ‭from‬ ‭the‬ ‭State‬ ‭to‬ ‭resolve‬ ‭the‬ ‭severe‬ ‭flooding‬ ‭problem‬ ‭caused‬ ‭by‬ ‭the‬
‭construction.‬
        ‭18.‬     ‭Residents‬‭of‬‭the‬‭Shiloh‬‭Community‬‭began‬‭to‬‭petition‬‭the‬‭State‬‭and‬‭other‬‭authorities‬
‭to‬‭help‬‭address‬‭the‬‭concerns‬‭of‬‭the‬‭community.‬
        ‭19.‬     ‭In‬ ‭addition‬ ‭to‬ ‭contacting‬ ‭the‬‭State,‬‭residents,‬‭including‬‭Mr.‬‭Williams,‬‭reached‬‭out‬
‭to‬ ‭the‬ ‭Federal‬ ‭Government,‬ ‭specifically‬ ‭the‬ ‭United‬ ‭States‬ ‭Department‬ ‭of‬ ‭Transportation,‬
                                                       ‭4‬
                                                    DOCUMENT 2
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‭including‬‭filing‬‭a‬‭Title‬‭VI‬‭complaint.‬
        ‭20.‬    ‭After‬ ‭multiple‬ ‭attempts‬ ‭to‬‭contact‬‭the‬‭State,‬‭officials‬‭failed‬‭to‬‭respond‬‭to‬‭multiple‬
‭requests‬‭for‬‭help.‬
        ‭21.‬    ‭The‬‭residents‬‭of‬‭the‬‭Shiloh‬‭Community‬‭began‬‭a‬‭concerted‬‭effort‬‭to‬‭bring‬‭attention‬
‭to‬‭the‬‭severe‬‭flooding‬‭affecting‬‭the‬‭community.‬‭They‬‭began‬‭contacting‬‭the‬‭local‬‭media‬‭which‬‭ran‬
‭several‬‭stories‬‭about‬‭the‬‭severe‬‭flooding‬‭caused‬‭by‬‭the‬‭State‬‭of‬‭Alabama’s‬‭highway‬‭construction‬
‭project.‬
        ‭22.‬    ‭As‬ ‭the‬ ‭pressure‬ ‭mounted‬ ‭on‬ ‭the‬ ‭State‬ ‭officials‬ ‭for‬ ‭their‬ ‭inaction,‬ ‭Mr.‬ ‭Williams‬
‭began‬ ‭to‬ ‭receive‬ ‭ominous‬ ‭signs‬ ‭that‬ ‭his‬ ‭contract‬ ‭was‬ ‭in‬ ‭jeopardy‬ ‭at‬ ‭the‬ ‭state‬ ‭contractor,‬
‭Defendant‬‭Ben‬‭E.‬‭Keith‬‭Company‬‭-‬‭Keith‬‭Valley‬‭facility.‬
        ‭23.‬    ‭One‬ ‭such‬ ‭occurrence‬ ‭took‬ ‭place‬ ‭when‬ ‭Williams‬ ‭noticed‬ ‭a‬ ‭substantial‬ ‭amount‬ ‭of‬
‭money‬‭directly‬‭deposited‬‭into‬‭his‬‭bank‬‭account‬‭in‬‭the‬‭amount‬‭of‬‭$200k,‬‭presumably‬‭from‬‭Ben‬‭E.‬
‭Keith.‬
        ‭24.‬    ‭Once‬‭Willimas‬‭noticed‬‭this‬‭large‬‭deposit,‬‭he‬‭immediately‬‭contacted‬‭management‬‭at‬
‭Ben‬‭E.‬‭Keith‬‭and‬‭informed‬‭them‬‭of‬‭this‬‭discrepancy.‬
        ‭25.‬    ‭Management‬‭informed‬‭Mr.‬‭Williams‬‭that‬‭he‬‭need‬‭not‬‭worry‬‭about‬‭the‬‭deposit.‬
        ‭26.‬    ‭After‬ ‭receiving‬ ‭this‬ ‭information,‬‭Mr.‬‭Williams‬‭then‬‭contacted‬‭the‬‭corporate‬‭office‬
‭of‬‭Ben‬‭E.‬‭Keith‬‭to‬‭speak‬‭with‬‭someone‬‭who‬‭could‬‭help‬‭him‬‭return‬‭the‬‭money.‬
        ‭27.‬    ‭After‬‭multiple‬‭attempts,‬‭Plaintiff‬‭Williams‬‭was‬‭finally‬‭able‬‭to‬‭speak‬‭with‬‭someone‬
‭who‬‭informed‬‭him‬‭that‬‭the‬‭transaction‬‭was‬‭a‬‭mistake,‬‭and‬‭directed‬‭him‬‭how‬‭to‬‭transfer‬‭the‬‭money‬
‭back‬‭to‬‭Ben‬‭E.‬‭Keith.‬
        ‭28.‬    ‭Shortly‬‭after‬‭this‬‭transaction,‬‭Mr.‬‭Williams‬‭was‬‭informed‬‭that‬‭his‬‭services‬‭were‬‭no‬
‭longer‬‭needed‬‭and‬‭his‬‭contract‬‭was‬‭terminated.‬



                                                      ‭COUNT‬‭I‬

                                          ‭BREACH‬‭OF‬‭CONTRACT‬

        ‭29.‬    ‭The‬‭proceeding‬‭paragraphs‬‭above‬‭are‬‭incorporated‬‭by‬‭reference‬‭as‬‭if‬‭fully‬‭set‬‭forth‬
‭herein.‬

        ‭30.‬    ‭Plaintiff‬ ‭Destiny‬ ‭(and‬ ‭Williams)‬ ‭had‬ ‭a‬ ‭validly‬ ‭binding‬ ‭contract‬ ‭for‬ ‭professional‬
‭cleaning‬ ‭services‬ ‭at‬ ‭the‬ ‭Ben‬ ‭E.‬ ‭Keith‬ ‭Company‬ ‭facility,‬ ‭Keith‬ ‭Valley‬ ‭Packing‬ ‭Company‬ ‭-‬
                                                         ‭5‬
                                                    DOCUMENT 2
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‭Southeast‬‭for‬‭multiple‬‭years.‬

        ‭31.‬    ‭The‬ ‭Plaintiff‬ ‭continued‬ ‭to‬‭fulfill‬‭the‬‭terms‬‭of‬‭the‬‭contract,‬‭and‬‭received‬‭numerous‬
‭commendations‬‭for‬‭his‬‭hard‬‭work‬‭and‬‭professionalism.‬

        ‭32.‬    ‭The‬ ‭Defendant‬ ‭Ben‬ ‭E.‬ ‭Keith‬ ‭breached‬ ‭the‬ ‭terms‬ ‭of‬ ‭the‬ ‭contract‬‭by‬‭canceling‬‭the‬
‭contract,‬‭presumably‬‭because‬‭of‬‭Williams‬‭advocacy,‬‭not‬‭for‬‭his‬‭performance‬‭under‬‭the‬‭contract.‬

        ‭33.‬    ‭Due‬ ‭to‬ ‭the‬ ‭Defendants‬ ‭breach,‬ ‭Williams‬ ‭and‬ ‭Destiny‬ ‭were‬ ‭caused‬ ‭to‬ ‭suffer‬
‭damages,‬‭including‬‭lost‬‭revenue,‬‭based‬‭on‬‭the‬‭terms‬‭of‬‭the‬‭contract.‬

                                                    ‭COUNT‬‭II‬

                                                 ‭RETALIATION‬

        ‭34.‬    ‭The‬‭proceeding‬‭paragraphs‬‭above‬‭are‬‭incorporated‬‭by‬‭reference‬‭as‬‭if‬‭fully‬‭set‬‭forth‬
‭herein.‬

        ‭35.‬    ‭Plaintiff‬‭had‬‭a‬‭binding‬‭contract‬‭with‬‭Defendant‬‭Ben‬‭E.‬‭Keith.‬

        ‭36.‬    ‭Defendants,‬ ‭by‬ ‭and‬ ‭through‬ ‭their‬ ‭employees‬ ‭and/or‬ ‭agents,‬ ‭engaged‬ ‭in‬ ‭forms‬ ‭of‬
‭retaliation‬ ‭because‬ ‭Mr.‬ ‭Williams‬‭was‬‭a‬‭vocal‬‭advocate‬‭for‬‭his‬‭community,‬‭and‬‭he‬‭was‬‭speaking‬
‭against‬ ‭the‬ ‭State‬ ‭of‬ ‭Alabama‬ ‭(a‬ ‭large‬ ‭customer‬ ‭of‬ ‭Ben‬ ‭E.‬‭Keith)‬‭and‬‭the‬‭highway‬‭construction‬
‭project.‬

        ‭37.‬    ‭Due‬ ‭to‬ ‭Mr.‬ ‭Williams‬ ‭advocacy,‬ ‭Defendant‬ ‭Ben‬ ‭E.‬ ‭Keith‬ ‭tried‬ ‭to‬ ‭silence‬ ‭Mr.‬
‭Williams‬ ‭by‬ ‭transferring‬ ‭a‬ ‭large‬ ‭amount‬ ‭of‬ ‭money,‬ ‭presumably‬ ‭“Hush‬ ‭Money,”‬ ‭to‬ ‭stop‬ ‭Mr.‬
‭Williams‬‭from‬‭advocating‬‭for‬‭himself‬‭and‬‭residents‬‭of‬‭the‬‭Shiloh‬‭Community.‬

        ‭38.‬    ‭After‬‭Williams‬‭rejected‬‭the‬‭money,‬‭he‬‭was‬‭directed‬‭to‬‭transfer‬‭the‬‭money‬‭back‬‭to‬‭a‬
‭bank‬‭chosen‬‭by‬‭Ben‬‭E.‬‭Keith‬‭Company.‬

        ‭39.‬    ‭Mr.‬ ‭Williams‬ ‭was‬ ‭also‬ ‭subjected‬ ‭to‬ ‭threats‬ ‭by‬ ‭management‬ ‭from‬ ‭Ben‬ ‭E.‬ ‭Keith‬
‭Company‬ ‭for‬ ‭refusing‬ ‭to‬ ‭accept‬ ‭the‬ ‭money,‬ ‭and‬ ‭at‬ ‭one‬ ‭point‬ ‭was‬ ‭accused‬ ‭of‬ ‭coordinating‬ ‭and‬
‭orchestrating‬‭the‬‭large‬‭transfer.‬

        ‭40.‬    ‭Once‬‭the‬‭money‬‭was‬‭received‬‭back‬‭from‬‭Mr.‬‭Williams,‬‭Defendant‬‭BEK‬‭terminated‬
‭the‬‭contract‬‭Destiny‬‭had‬‭with‬‭BEK‬‭in‬‭retaliation‬‭for‬‭him‬‭not‬‭accepting‬‭the‬‭money‬‭and‬‭refusing‬‭to‬
‭remain‬‭silent.‬

        ‭41.‬    ‭Because‬‭of‬‭the‬‭Defendants‬‭retaliation,‬‭Plaintiff‬‭was‬‭caused‬‭to‬‭suffer‬‭damages‬‭in‬‭the‬
                                                            ‭6‬
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‭form‬‭of‬‭future‬‭earnings,‬‭damage‬‭to‬‭Destiny’s‬‭reputation‬‭within‬‭the‬‭community,‬‭and‬‭loss‬‭of‬‭other‬
‭contracts‬‭that‬‭were‬‭associated‬‭with‬‭Ben‬‭E.‬‭Keith‬‭Company.‬



                                                      ‭COUNT‬‭III‬

                                                   ‭CONSPIRACY‬

        ‭42.‬      ‭The‬‭proceeding‬‭paragraphs‬‭above‬‭are‬‭incorporated‬‭by‬‭reference‬‭as‬‭if‬‭fully‬‭set‬‭forth‬
‭herein.‬

        ‭43.‬      ‭The‬ ‭individual‬ ‭defendants,‬ ‭including‬ ‭fictitious‬ ‭parties,‬ ‭reached‬ ‭a‬ ‭mutual‬
‭understanding‬ ‭and‬ ‭conspired‬ ‭with‬ ‭each‬ ‭other‬ ‭to‬ ‭violate‬ ‭Plaintiff’s‬ ‭rights‬ ‭under‬‭the‬‭terms‬‭of‬‭his‬
‭contract.‬

        ‭44.‬      ‭In‬‭furtherance‬‭of‬‭the‬‭conspiracy,‬‭the‬‭Defendants‬‭began‬‭a‬‭concerted‬‭effort‬‭to‬‭provide‬
‭“hush‬‭money”‬‭to‬‭Williams‬‭to‬‭get‬‭him‬‭to‬‭cease‬‭his‬‭advocacy‬‭activities.‬

        ‭45.‬      ‭When‬ ‭Williams‬ ‭refused‬ ‭the‬ ‭money‬ ‭and‬ ‭refused‬ ‭to‬ ‭be‬ ‭silenced,‬ ‭Defendants‬
‭conspired‬‭to‬‭have‬‭Mr.‬‭Williams‬‭terminated‬‭from‬‭his‬‭contract‬‭with‬‭Defendant‬‭Ben‬‭E.‬‭Keith.‬

        ‭46.‬      ‭As‬ ‭a‬ ‭direct‬ ‭and‬ ‭proximate‬ ‭result‬ ‭of‬ ‭the‬ ‭conspiracy‬ ‭among‬ ‭and‬ ‭between‬ ‭all‬
‭Defendants‬ ‭and‬ ‭Fictitious‬ ‭Parties,‬ ‭Plaintiff‬ ‭lost‬ ‭the‬ ‭contract‬ ‭and‬ ‭was‬ ‭caused‬‭to‬‭suffer‬‭damages,‬
‭including‬‭economic‬‭and‬‭emotional‬‭harm.‬

                                                      ‭COUNT‬‭IV‬

                                                    ‭NEGLIGENCE‬

        ‭47.‬      ‭The‬‭proceeding‬‭paragraphs‬‭above‬‭are‬‭incorporated‬‭by‬‭reference‬‭as‬‭if‬‭fully‬‭set‬‭forth‬
‭herein.‬

        ‭48.‬      ‭Defendants‬‭had‬‭a‬‭duty‬‭to‬‭Plaintiff‬‭to‬‭handle‬‭the‬‭contract‬‭with‬‭Plaintiff‬‭in‬‭a‬‭manner‬
‭as‬‭not‬‭to‬‭negligently‬‭interfere‬‭with‬‭the‬‭business‬‭relationship‬‭between‬‭Plaintiff‬‭and‬‭Defendants.‬

        ‭49.‬      ‭Defendants‬ ‭breached‬ ‭that‬ ‭duty‬ ‭by‬ ‭allegedly‬ ‭conspiring‬ ‭with‬ ‭named‬‭and‬‭unnamed‬
‭co-conspirator‬‭Defendants‬‭to‬‭silence‬‭Plaintiff‬‭by‬‭offering‬‭hush‬‭money‬‭and‬‭ultimately‬‭terminating‬
‭his‬‭contract.‬

        ‭50.‬      ‭As‬ ‭a‬ ‭result‬ ‭of‬ ‭the‬ ‭breach,‬ ‭Plaintiff‬ ‭was‬ ‭caused‬ ‭to‬ ‭suffer‬ ‭economic‬ ‭losses‬ ‭and‬
‭damage‬‭to‬‭his‬‭business‬‭reputation.‬
                                                             ‭7‬
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         ‭51.‬    ‭Plaintiff‬‭was‬‭caused‬‭to‬‭suffer‬‭economic,‬‭emotional,‬‭and‬‭reputational‬‭damages.‬

         ‭WHEREFORE‬‭,‬ ‭PREMISES‬ ‭CONSIDERED‬‭,‬ ‭Plaintiff‬ ‭demands‬ ‭judgment‬ ‭against‬
‭Defendants‬ ‭in‬ ‭an‬ ‭amount‬ ‭which‬ ‭the‬ ‭Court‬ ‭deems‬ ‭appropriate,‬ ‭to‬ ‭include‬ ‭compensatory‬ ‭and‬
‭punitive‬ ‭damages,‬ ‭attorney’s‬ ‭fees,‬ ‭and‬ ‭costs‬ ‭of‬ ‭this‬‭action.‬‭Plaintiffs‬‭pray‬‭for‬‭such‬‭other,‬‭further‬
‭and‬‭different‬‭relief‬‭to‬‭which‬‭she‬‭is‬‭entitled.‬


                            ‭Respectfully‬‭submitted‬‭this‬‭7th‬‭day‬‭of‬‭May,‬‭2024.‬



                                                                          /‭s/‬‭Johnathan‬‭F.‬‭Austin‬‭(AUS023)‬
                                                                           ‭Johnathan‬‭F.‬‭Austin‬
                                                                            ‭Attorney‬‭for‬‭Plaintiff‬


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                 ‭Please‬‭serve‬‭Defendant‬‭by‬‭certified‬‭mail‬‭at‬‭the‬‭following‬‭address(es):‬

‭ EN‬‭E.‬‭KEITH‬‭COMPANY‬
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 ‭FORT‬‭WORTH,‬‭TX‬‭76102‬
  ‭C‬‭T‬‭CORPORATION‬‭SYSTEM‬
   ‭2‬‭NORTH‬‭JACKSON‬‭STREET‬‭STE‬‭605‬
    ‭MONTGOMERY,‬‭AL‬‭36104‬

‭ EITH‬‭VALLEY‬‭PACKING‬‭COMPANY‬‭-‬‭SOUTHEAST‬
K
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                                         ‭8‬
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‭ ALEB‬‭RICHARDS‬‭(ASSISTANT‬‭MANAGER),‬
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                                    ‭9‬
